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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

JOSE FLORES,                                         )
on behalf of himself and all others                  )
similarly situated                                   )
                                                     )
                     Plaintiff,                      )      C.A. No. 14-3298
       vs.                                           )
                                                     )      CLASS ACTION
EXPRESS SERVICES, INC., and                          )
EXPRESS PERSONNEL - PHILADELPHIA                     )
                                                     )
                     Defendants                      )
                                                     )




                    MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION FOR PRELIMINARY APPROVAL OF
               CLASS ACTION SETTLEMENT AND NOTICE TO CLASS



                                   FRANCIS & MAILMAN, P.C.
                                        James A. Francis
                                          John Soumilas
                                        David A. Searles
                                       Lauren KW Brennan
                                  Land Title Building, Suite 1902
                                     100 South Broad Street
                                     Philadelphia, PA 19110
                                         (215) 735-8600

                             Attorneys for Plaintiff and the Class
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       Plaintiff Jose Flores moves for preliminary approval of the parties’ Settlement Agreement

in this class action brought under the Fair Credit Reporting Act (“FCRA”), under Fed. R. Civ. P.

23 of the Federal Rules of Civil Procedure and Local Civil Rule 23.1, and to approve the proposed

notice to the class. The parties anticipate the proposed notice, if approved, will be mailed to 36,848

class members residing within the Third Circuit.

       With the Settlement Agreement 1 (which is attached as Appendix I hereto), Plaintiff also

submits the proposed Final Approval Order (Exhibit A to the Settlement Agreement), a proposed

Preliminary Approval Order (Exhibit B to Settlement Agreement), a proposed Notice to the Class

(Exhibit C to Settlement Agreement) and a Claim Form (Exhibit D to the Settlement Agreement).

       The terms of the Settlement Agreement were negotiated vigorously and through zealous

advocacy. Class Counsel are experienced consumer class action attorneys who are qualified to

evaluate the proposed Settlement Agreement on behalf of the class.

       As set forth in more detail below, the outcome of this case represents an unqualified success

for the Plaintiff and Settlement Class, and the settlement achieved readily meets the criteria for

preliminary approval for several reasons. First, as a result of the lawsuit, Defendants have changed

their practices and procedures for notifying applicants about the results of background reports

obtained for purposes of employment.

         Second, the settlement provides that Defendants will establish a Settlement Fund of

$5,750,000.00. The fund will provide automatic, guaranteed payments of $50.00 to each of the

36,848 class members who decide not to file a claim for damages, and up to $2,500.00 each to

every class member who opts instead to file a claim for damages. The fund will also be used to




1
      Unless otherwise defined herein, all capitalized terms in this Memorandum have the same
meaning as in the Settlement Agreement.
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pay the costs of notice and settlement administration, a settlement and service award to the Class

Representative, and Class Counsel’s fees and expenses. There will be no reversion of any of the

fund to the Defendants.

       Third, the stage of the proceedings demonstrates the fairness and non-collusive nature of

the settlement. It was only reached after over twenty-two months of litigation and settlement

negotiations. The parties spent three full days over a many month period of detailed mediation,

plus innumerable follow up telephone calls and conferences under the auspices of Carole Katz,

Esq., a highly respected private mediator. See http://www.carolekatz.com/. It is indisputable that

negotiations were conducted in an arms-length manner.

       For these reasons, this Court should approve the settlement reached here.

I.     NATURE OF THE LITIGATION

       This is a consumer class action brought under the Fair Credit Reporting Act against

Defendants Express Services, Inc. and Express Personnel – Philadelphia (“Defendants”), a staffing

agency and user of consumer reports for employment purposes. Plaintiff’s Second Amended Class

Action Complaint asserts that Defendants willfully failed to provide the applicants who were the

subjects of background reports with notice and copy of the report before taking adverse action

against them as required in FCRA section 1681b(b)(3). Since the filing of this case, Defendants

have changed their practices to address the conduct complained of in this litigation.

       A.      History Of The Case

       Mr. Flores, on June 9, 2014, filed a Class Action Complaint; on July 24, 2014, filed an

Amended Class Action Complaint; and, on October 22, 2014, filed a Second Amended Class

Action Complaint against Defendants in the United States District Court for the Eastern District

of Pennsylvania, captioned Jose Flores v. Express Services, Inc. and Express Personnel -



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Philadelphia, Civil Action No. 14-3298. The allegations, on behalf of a class residing within the

jurisdiction of the United States Court of Appeals for the Third Circuit, were that Defendants

violated the FCRA by failing to provide the required pre-adverse action notice to employees and

job applicants, as required by the FCRA, so that they are afforded the opportunity to correct any

inaccuracies in background checks before the employer takes adverse action against them.

Defendants filed their Answers to the Second Amended Complaint on November 6, 2014.

       Following a Rule 16 conference, the Court issued its First Scheduling Order on December

9, 2014 (Doc. 27). Plaintiff served written discovery on Defendants on December 24, 2014, and

scheduled Rule 30(b)(6) depositions of both Defendants for February 25, 2015.

       Soon thereafter, the parties discussed the possibility of attempting to mediate a resolution

of the case, and agreed to hire Ms. Katz for that purpose. Pursuant to the parties’ joint motion, the

Court stayed deadlines pending the outcome of mediation. Doc. 29. Defendants provided pre-

mediation responses to certain of Plaintiff’s discovery requests, and the parties held their first

mediation session on May 21, 2015. That session resulted in some progress but did not resolve

the case. Instead, the parties agreed to resume mediation several months hence. The Court placed

the case in the Civil Suspense File on April 1, 2015, pending the outcome of mediation. Doc. 30.

       The parties met again for two more days of mediation on November 10 and 11, 2015. At

the conclusion of the third day, the parties had reached an agreement in principle for the settlement

of the case, which was subject to the approval of the Defendants’ board of directors. That board

met later in the year. Subsequently, with the assistance of the mediator, the parties continued

negotiating through telephone calls and exchange of written settlement terms and proposals

throughout the winter and spring of 2016.




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       A revised term sheet was signed by the parties in April 2016. Plaintiff prepared drafts of

the settlement agreement and the collateral documents that were exhibits to the agreement. The

parties went back and forth on the settlement terms and eventually produced the final agreement

that is attached hereto as Appendix I.

II.    NATURE OF SETTLEMENT

       Representative Plaintiff Flores and Defendants have agreed, subject to this Court’s

approval, to a settlement of this litigation on a class-wide basis. The terms of the settlement are

set out in the Settlement Agreement attached hereto as Appendix I. The settlement is fair,

reasonable and sound in light of the relevant facts, the applicable law, and the economic, as well

as non-economic, value of the settlement to the Class.

       A.      The Settlement Class

       The parties have agreed to settle the section 1681b(b)(3) claims of a class of consumers

(the “Class”) defined as follows:

       All natural persons residing within the jurisdiction of the United States Court of
       Appeals for the Third Circuit who (i) beginning two (2) years prior to the filing of
       the Complaint; (ii) applied for employment with Defendants; (iii) were the subject
       of a consumer report used by Defendants for employment purposes; (iv) were the
       subject of an adverse employment action by Defendants; and, (v) were not provided
       with a copy of the report and/or a written summary of their rights under the FCRA
       prior to the adverse action.

Settlement Agreement, ¶ 1.5.

       B.      Settlement Benefits

               1.      Practice Changes

       The Settlement Agreement contains Defendants’ express acknowledgement that they have

changed their practices to address the conduct that served as the basis of the Plaintiff’s claims in

this case. Settlement Agreement, ¶ 2.1.



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                2.     Monetary Compensation

        The Settlement Agreement provides that Defendants will establish a Settlement Fund of

$5,750,000.00 to be used for monetary compensation to Class Members, for costs of notice and

settlement administration, for an individual settlement and service award to the Class

Representative and for fees and costs for Class Counsel. Settlement Agreement, ¶ 6.

        The Settlement allocates the sum of one million, eight hundred forty-two thousand, and

four hundred dollars ($1,842,400.00) for an Automatic Payment of $50.00 for each Class Member

who takes no action upon receiving the notice of the Settlement, without the need to file a claim

form. Id. ¶ 6.1(A).

        An additional amount of one million, eight hundred thirty, and eight hundred fifty dollars

($1,830,850.00) (the “Damages Claims Fund”) is allocated to pay Damages Claims not more than

$2,500.00 for each Settlement Class Member who submits a Claim Form. A Settlement Class

Member may submit a Claim Form (a) certifying to the best of his or her knowledge, information,

and belief that the Settlement Class Member lost or was delayed in obtaining an employment

opportunity as a direct result of the conduct that qualifies that Settlement Class Member to be a

member of the Settlement Class; and (b) stating the amount of Recoverable Damages 2 claimed.

Id. ¶ 6.1(B).

                3.     Costs of Notice and Settlement Administration

        All costs of notice relating to the settlement and all necessary and reasonable costs of

administering the disbursement of consideration, and other administrative expenses will be paid



2
       “Recoverable Damages” are defined in the Settlement Agreement to mean an amount not
in excess of two thousand five hundred dollars ($2,500.00) for damages proven to have been
incurred by a Settlement Class Member as a result of the failure of the Defendants to provide such
Member with the pre-adverse action notice required by the FCRA. Settlement Agreement, ¶ 1.23.


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out of the Settlement Fund, including, but not limited to, postage charges, printing costs, a

telephone assistance program, receiving and processing Claim Forms, reporting to the parties,

complying with tax reporting requirements, and all other notice costs and other charges as may be

approved by the parties subject to further approval by the Court. Settlement Agreement, ¶¶ 5.1 –

5.3.

               4.       Service Award for Class Representative

       Subject to court approval, the parties have agreed that the Class Representative will be paid

an award of $10,000 by the Defendants, and to which the Defendants will not object, for his

individual settlement award and his services in connection with representing the Class. Settlement

Agreement, ¶ 6.3.

               5.       Attorney’s Fees and Costs.

       Subject to court approval, Defendants have agreed to pay, and agree not to object or

engender objection to, an amount not to exceed one million, nine hundred fourteen thousand, seven

hundred fifty dollars ($1,914,750.00) for the combined attorney’s fees and costs incurred by Class

Counsel in the prosecution of the litigation. Settlement Agreement, ¶ 6.2. The amount of

attorney’s fees and expenses to be paid to Class Counsel was not agreed to by the parties until

agreement was reached in principle on the other terms of the Settlement Agreement. Plaintiff will

submit a fee petition ten (10) days prior to the Final Approval Hearing, which will include

Plaintiff’s detailed request for attorney’s fees and costs.

               6.       Class Notice

       The settlement provides for a Settlement Administrator, RSM US LLP, to effectuate the

compiling and mailing of the class notice. Settlement Agreement, ¶¶ 4.2, 5.2.




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        Within 7 days following Preliminary Approval, Defendants will provide the Settlement

Administrator with a list of the names and last known addresses of the Settlement Class Members

in readable electronic form. Id. Within 14 days after the entry of the Preliminary Approval Order,

the Settlement Administrator will mail the Settlement Notice and a Claim Form, subject to any

changes made by the Court, to each Class Member at their last known address, as updated by the

Settlement Administrator with one round of skip-tracing. Id., ¶ 5.2(B). At the same time, the

Settlement      Administrator      shall    establish    (a)     a     website     labeled     as

www.FloresExpressClassAction.Info which will contain, among other things, the Settlement

Notice; the Second Amended Complaint; the Defendants’ Answers to the Second Amended

Complaint; the Settlement Agreement; the Motion for Preliminary Approval of the Settlement;

and, the Preliminary Approval Order; and, (b) a toll-free number for Settlement Class members to

call with questions. Id., ¶ 5.2(A)(1).

        The Settlement Administrator shall receive and process the claims for Recoverable

Damages, and comply with all tax reporting requirements, if any, with respect to payments made

to Class Members. Id., ¶ 5.2(D), (E).

        Not later than 20 days before the Final Approval Hearing, the Settlement Administrator

shall file proof of the mailing of the Settlement Class Notices with the Court. Id., Exhibit B, ¶

7(b).

III.    THE PROPOSED CLASS                 SHOULD BE           CERTIFIED FOR
        SETTLEMENT PURPOSES

        In considering the proposed settlement, the first question for the Court is whether a

settlement class may be conditionally certified for settlement purposes. See Amchem Products,

Inc. v. Windsor, 521 U.S. 591, 620 (1997) (trial court may disregard management issues in

certifying a settlement class, but the proposed class must still satisfy the other requirements of


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Rule 23); Sullivan v. DB Invs., Inc., 667 F.3d 273, 296 (3d Cir. 2011) (en banc) (“[B]efore

approving a class settlement agreement, a district court first must determine that the requirements

for class certification under Rule Fed. R. Civ. P. 23(a) and (b) are met.” (internal quotation marks

omitted)); In re Cmty. Bank of N. Va., 418 F.3d 277, 300 (3d Cir. 2005) (“[R]egardless of whether

a district court certifies a class for trial or for settlement, it must first find that the class satisfies all

the requirements of Rule 23.”).

        The parties have reached a proposed agreement on behalf of the Settlement Class defined

above. In support of their contention that proper and sufficient grounds for class certification exist

under Rule 23, the Class Representative would show the following.

        A.       The Proposed Settlement Class Meet Rule 23(a)’s Requirements

                 1.      Numerosity

        In applying this rule, it has consistently been held that joinder is impracticable where the

class is composed of hundreds of potential claimants; indeed, impracticability of joinder has often

been found where the class is composed of less than 100 members. See, e.g., Eisenberg v. Gagnon,

766 F.2d 770, 785-86 (3d Cir. 1985) (90 class members meets numerosity requirement); Weiss v.

York Hospital, 745 F.2d 786, 808 (3d Cir. 1984) (92 class members meets the numerosity

requirement).

        Here, the parties have determined through discovery that the Class consists of 36,848

employment applicants. This is certainly sufficient to establish that joinder is impracticable.

                 2.      Commonality

        A putative class satisfies Rule 23(a)’s commonality requirement if “the named plaintiffs

share at least one question of fact or law with the grievances of the prospective class.” Baby Neal

v. Casey, 43 F.3d 48, 56 (3d Cir. 1994). As this Circuit reiterated recently, “that bar is not a high



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one. We have acknowledged commonality to be present even when not all plaintiffs suffered an

actual injury, id., when plaintiffs did not bring identical claims, …, and, most dramatically, when

some plaintiffs' claims may not have been legally viable, …. In reaching those conclusions, we

explained that the focus of the commonality inquiry is not on the strength of each plaintiff's claim,

but instead is “on whether the defendant's conduct was common as to all of the class members.”

Rodriguez v. National City Bank, 726 F.3d 372, 382-83 (3d Cir. 2013) (citations omitted)

(reviewing commonality standard in light of Wal–Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541

(2011), and concluding that while “Dukes is an intervening and pointedly clear explication of the

law, it did not announce any change in the test for determining commonality.” Rodriguez, 726

F.3d at 381, n. 2)).

        The primary questions, which focuses on the uniform conduct and procedures of the

Defendants, are common to the Class. The main question is whether Defendants willfully and

negligently violated section 1681b(b)(3) of the FCRA by uniformly failing to provide job

applicants who were the subjects of consumer reports containing adverse information with notice

and a copy of the relevant report prior to taking adverse action against them.

        The theory of liability for the Settlement Class is precise because it arises from the same

standard practices and present the same basic questions that are common to all members of each

class. Cases presenting standardized practices directed at consumers invariably present common

predominating issues. See Perry v. FleetBoston Financial Corp., 229 F.R.D. 105 (E.D. Pa. 2005)

(finding Rule 23 requirements met in consumer class action and noting cases routinely certified

where ‘defendants have engaged in standardized conduct towards members of the proposed class

by mailing to them allegedly illegal form letters or documents.’” (citations omitted). See also

Weiss v. Regal Collections, 385 F.3d 337, 344-45 (3d Cir. 2004) (claims arising from standard



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collection communications particularly appropriate for class action).

        Defendants’ practices with respect to the members of the Class was uniform, because it

was Defendants’ practice to not provide consumers who were the subjects of background reports

containing adverse information with notice and a copy of the report prior to taking adverse action,

or any time thereafter. Commonality is thus satisfied. In re Prudential Ins. Co. Am. Sales Practice

Litig., 148 F.3d 283, 310 (3d Cir. 1998).

               3.      Typicality

       This requirement is “designed to align the interests of the class and the class representatives

so that the latter will work to benefit the entire class through the pursuit of their own goals.”

Prudential, 148 F.3d at 311. The threshold for establishing typicality is low. Typicality does not

require that the claims of the class members be identical. Rather, a plaintiff’s claims are typical

when the nature of the plaintiff’s claims, judged from both a factual and a legal perspective, are

such that in litigating her personal claims she can reasonably be expected to advance the interests

of absent class members. See, e.g., General Telephone Co. of the Southwest v. Falcon, 457 U.S.

147, 156-157 (1982).

       The Class Representative is a member of the Settlement Class, has the same interest in

resolution of the issues as all other members of the Class and his claims are typical of all members

of the Class. Plaintiff was affected by the Defendants’ practice in the same manner as all members

of the Class. These facts, and Plaintiff’s claims, are therefore typical of the facts and claims of all

other members of the proposed Settlement Class. See Hassine v. Jeffes, 846 F.2d 169, 177 (3d

Cir. 1998).

               4.      Adequacy of Representation

       A representative plaintiff must be able to provide fair and adequate protection for the



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interests of the class. That protection involves two factors: (a) the representative plaintiff’s

attorney must be qualified, experienced, and generally able to conduct the proposed litigation; and

(b) the representative plaintiff must not have interests antagonistic to those of the class. See, e.g.,

In re Prudential, 148 F.3d at 312; Lewis v. Curtis, 671 F.2d 779, 788 (3d Cir. 1982).

       Plaintiff here fairly and adequately represents the interests of the Settlement Class. Mr.

Flores has retained qualified and experienced attorneys who have substantial experience in class

action and consumer litigation and are qualified to conduct the litigation. The firm of Francis &

Mailman, P.C. has been certified to represent classes under the FCRA, as well as other consumer

protection laws, in this district and by courts in other districts, and has tried class actions to verdict

as well. 3

        Moreover, Plaintiff has no interests that are antagonistic to the interests of the Class, and

is unaware of any actual or apparent conflicts of interest between him and the Class.

        B.      The Proposed Settlement Class Meet Rule 23(b)’s Requirements

        In addition to meeting the requirements of Rule 23(a), a money-damages class must satisfy

Rule 23(b)(3), namely that (1) “questions of law or fact common to the members of the class



3
        See White v. Experian Info. Solutions, 993 F.Supp.2d 1154, 1169, 1172 (C.D. Cal. 2014)
(finding Francis & Mailman “FCRA specialists” and appointing firm and its team as interim class
counsel over objections from competing group because their team’s “credentials and experience
[we]re significantly stronger in class action and FCRA litigation.”), aff’d sub nom. Radcliffe v.
Experian Info. Solutions, Inc., 818 F.3d 537, 548 (9th Cir. 2016); Sapp v. Experian Info. Solutions,
No. 10-4312, 2013 WL 2130956 (E.D. Pa. May 15, 2013); LaRocque v. TRS Recovery Services,
Inc., 285 F.R.D. 139 (D. Me. 2012) (certifying firm of Francis & Mailman as class counsel in
consumer class action); accord, Giddiens v. First Advantage LNS Screening Solutions, Inc., No.
2:12-cv-2624 (E.D. Pa.) at Dkt. No. 55 (Jan. 20, 2015 order granting final approval and certifying
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2009); Chakejian v. Equifax Info. Services, LLC, 256 F.R.D. 492 (E.D. Pa. 2009); Jones v. Midland
Funding, LLC, C.A. No. 3:08cv802 (RNC) (D. Conn. October 13, 2009); Jordan v.
Commonwealth Financial Systems, Inc., 237 F.R.D. 132 (E.D. Pa. 2006); Bonett v. Education Debt
Services, Inc., No. 01-6528, 2003 WL 21658267, at *3 (E.D. Pa. 2003).
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predominate over any questions affecting only individual members” and, (2) “a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.” Fed.

R. Civ. P. 23(b)(3). The proposed Settlement Class meets these requirements.

               1.      Common Questions of Law and Fact Predominate Over
                       Individual Ones

       Resolution of the common issues of fact and law in this case will not only promote the

efficient adjudication of these matters, it will dispose of them entirely. Plaintiff alleges on behalf

of the Class that Defendants failed to comply with section 1681b(b)(3) of the FCRA by taking

adverse action against applicants based in whole or in part on information in consumer reports,

without first providing them with notice and a copy of the relevant report. The internal policies

and procedures that Defendants followed in notifying applicants about the results of such

backgrounds checks – factual issues central to Plaintiff’s claims – are generally common to all

members of the Settlement Class.

       In addition, Plaintiff alleges on behalf of the Class that Defendants’ alleged failures to

comply with the FCRA were “willful,” i.e., that there is no objectively reasonable interpretation

of the FCRA, as a matter of law, that would support Defendants’ view that it was permissible to

completely fail to provide notice to consumers regarding adverse results of backgrounds checks.

Safeco Ins. Co. v. Burr, 551 U.S. 47, 69 (2007). These are predominating legal questions common

to all members of the Settlement Class.

               2.      A Class Action is the Superior Method for Resolving the
                       Class Members’ Claims

       As to superiority, class settlement is the most efficient means of adjudicating the disputes

raised here. Separately litigating the common issues that bind the Settlement Class would be a

practical impossibility, even assuming consumers had notice of their claims and it were



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economically feasible to pursue these claims on their own. Where the alternative to a class action

is likely to be no action at all for most of the class members, there is a strong presumption in favor

of a finding of superiority. Cavin v. Home Loan Ct., Inc., 236 F.R.D. 387, 396 (N.D. Ill. 2006).

Even if just a small fraction of the members of the Settlement Class were to bring individual suits,

the resolution of common issues in a single proceeding here would be infinitely more efficient than

the separate adjudication of individual claims in separate lawsuits across the country.

IV.    ARGUMENT

       A.      Standards for Preliminary Approval Of A Class Settlement

       When a proposed class-wide settlement is reached, it must be submitted to the Court for

approval. H. Newberg & A. Conte, NEWBERG              ON   CLASS ACTIONS § 11.41 (4th ed. 2009)

(“NEWBERG”); Oslan v. Law Offices of Mitchell N. Kay, 232 F. Supp. 436, 439-40 (E.D. Pa. 2002).

Preliminary approval is the first of essentially three steps that comprise the approval procedure for

settlement of a class action. The second step is the dissemination of notice of the settlement to all

class members. The third step is a settlement approval or final fairness hearing. See MANUAL FOR

COMPLEX LITIGATION 4TH, § 21.63 (2004), available at http://www.fjc.gov (“MANUAL”). While

a settlement class must satisfy each of the requirements of Rule 23(a) and Rule 23(b)(3), “the fact

of settlement is relevant to a determination of whether the proposed Class meets the requirement

imposed by the Rule.” In re: Prudential Ins. Co. of America Sales Litigation, 148 F.3d 283, 308-

09 (3d Cir. 1998)).

       The question presented on a motion for preliminary approval of a proposed class action

settlement is whether the proposed settlement appears fair and reasonable. MANUAL at § 21.62.

As this Court has had occasion to rule:

       Such a preliminary determination requires the Court to consider the following
       factors: “(1) the negotiations occurred at arm's length; (2) there was sufficient

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         discovery; (3) the proponents of the settlement are experienced in similar litigation;
         and (4) only a small fraction of the class objected.” Id. (citing 2 Herbert Newberg
         & Alba Conte, Newberg on Class Actions § 11.41, at 11–91 (3d ed. 1992)); see also
         In re Warfarin Sodium Antitrust Litig., 212 F.R.D. 231, 254 (D. Del. 2002). If a
         court concludes, after consideration of those factors, that the settlement should be
         preliminarily approved, “... an initial presumption of fairness ...” is established. In
         re Gen. Motors Corp., 55 F.3d at 785

In re Linerboard Antitrust Litig., 292 F.Supp.2d 631, 638 (E.D. Pa. 2003).

         The approval of a proposed settlement of a class action is a matter within the broad

discretion of the trial court. Of course, settlements of class actions are favored in the law. See In

re: General Motors Truck Litig., 55 F.3d 768, 784 (3d Cir. 1995). Preliminary approval does not

require the trial court to affirmatively answer the ultimate question of whether a proposed

settlement is fair, reasonable and adequate. That determination is made only after notice of the

settlement has been given to the members of the class and after they have been given an

opportunity to voice their views of the settlement or be excluded from the class. See In re

Linerboard Litig., 296 F. Supp. 2d 568, 577-78 (E.D. Pa. 2003) (citing factors established in Girsh

v. Jepson, 521 F.2d 153 (3d Cir. 1975)).

         The question of whether a proposed settlement is fair, reasonable and adequate necessarily

requires a judgment and evaluation by the attorneys for the parties based upon a comparison of

“the terms of the compromise with the likely rewards of litigation.” Weinberger v. Kendrick, 698

F.2d 61, 73 (2d Cir. 1982); Collier v. Montgomery County, 192 F.R.D. 176, 184 (E.D. Pa. 2000)

(citing factors established in Girsh). Therefore, many courts recognize that the opinion of

experienced counsel supporting the settlement is entitled to considerable weight. See Collier, 192

F.R.D. at 186; Fisher Bros. v. Cambridge-Lee Indus, Inc., 630 F. Supp. 482, 487-88 (E.D. Pa.

1985).




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       In addition to being substantively reasonable in relation to the risks and likely rewards of

litigation, the proposed settlement must be “the result of good faith, arms length negotiations.”

Collier, 192 F.R.D. at 184. In evaluating this requirement, courts proceed as follows:

       If the proposed settlement appears to be the product of serious informed, non-
       collusive negotiations, has no obvious deficiencies, does not improperly grant
       preferential treatment to Class Representatives or segments of the Class, and falls
       within the range of possible approval, then the court should direct that notice be
       given to the Class Members of a formal fairness hearing, at which evidence may be
       presented in support of and in opposition to the settlement.

Id. A finding that these factors are present establishes an initial presumption of fairness. Id.; see

also General Motors, 55 F.3d at 785-86. Here, the proposed settlement meets these standards.

       B.       The Terms of the Proposed Settlement are Fair, Reasonable and Adequate

       The proposed settlement is reasonable when considering disputed liability and the statutory

cap on damages. These factors demonstrate that the proposed settlement is an excellent result for

the Settlement Class. Actual damages available to a consumer may vary and may defeat class

certification, particularly in the employment context where the employer may seek to identify other

causes for the denial of employment which could differ for each prospective employee.

       Statutory damages for a willful violation of the FCRA are capped at $1,000 per consumer.

15 U.S.C. § 1681n(a)(1)(A). A consumer may only receive such an award if he proves that a

defendant consumer reporting agency willfully (as opposed to negligently) violated the FCRA.

Even if the Representative Plaintiff won his FCRA claims at trial, there is no assurance that the

jury would find willfulness, or award an amount to the Class commensurate with the value ensured

by this settlement, which guarantees automatic payments of $50.00 to each member of the Class

and also provides the option to submit a damage claim for up to $2,500.00.

       The amount awarded by a jury or court is by no means certain, given the statutory factors

that must be considered in making such an award – frequency and persistence of noncompliance

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with the statute; nature of the noncompliance; and, extent to which noncompliance was willful or

negligent. 15 U.S.C. § 1681n(a) and § 1681o(a). Thus, this settlement avoids the litigation risk to

the Class and secures tangible and useful relief that may not be obtainable after trial.

       The adequacy of the proposed settlement is still more clearly appreciated when considering

Defendants’ liability defenses and the possibility of the Plaintiff being unable to prove liability.

Plaintiff and the Class will need to show that Defendants willfully violated the FCRA. Defendants

have asserted that their actions were not willful under FCRA. The parties obviously also have

different views on factual issues. Winning his case before a jury is by no means certain and

Plaintiff has decided that such a risk is unwise in the face of the proposed settlement.

       The proposed settlement is the product of serious, informed and non-collusive negotiations.

Defendants have continued to deny any wrongdoing or legal liability arising out of the conduct

alleged in this action. Nonetheless, Defendants have concluded that it is desirable that this action

be settled in the manner and upon the terms and conditions set forth in the Settlement Agreement

to avoid the expense, inconvenience, and burden of further legal proceedings, and the uncertainties

of trial and appeals.

       The Representative Plaintiff and his counsel recognize the expense and duration of

continued litigation, including a trial, in this action against Defendants through possible appeals,

which could take several years. They have also considered the time already invested in this case

and the uncertain outcome and risk of litigation. Representative Plaintiff and his counsel believe

that the settlement set forth in the Settlement Agreement confers substantial benefits upon the

Settlement Class. Based upon their evaluation, Representative Plaintiff and his counsel have

determined that the settlement is in the best interest of the Settlement Class.




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       The proposed settlement has no “obvious deficiencies” and falls well within the range for

approval. Defendants’ agreement to make significant practice changes addressing the issues

outlined in Plaintiff’s complaint, and the significant payments to members of the Settlement Class

provide valuable benefits. Clearly, the goal of this litigation, to seek redress for the Class, has

been met.

       As noted, settlements of class action disputes are favored in the law, to bring finality and

to conserve judicial resources. General Motors, 55 F.3d at 783. Settlement of consumer class

actions otherwise involving individual claims for small sums, such as the instant action under the

FCRA, are particularly well suited to class settlement.

       The settlement does not improperly grant preferential treatment to the Representative

Plaintiff or segments of the Class. The relief provided in the settlement will benefit all members

of the Class equally. The amount payable to the Representative Plaintiff is reasonable in that he

has participated in the litigation of this action and rendered substantial services on behalf of absent

Class Members.

       At the Final Approval Hearing, movant anticipates a final judgment giving effect to the

Settlement Agreement and dismissing all claims of any Settlement Class Member who have not

been excluded from the Settlement Class. Upon confirmation of the settlement at the Final

Approval Hearing and performance by Defendants of all their obligations under the Settlement

Agreement, Defendants will be fully, finally and completely released of all liability for the claims

asserted in the litigation and as further described in the Settlement Agreement.

V.     CONCLUSION

       Accordingly, Plaintiff Jose Flores requests that this Court grant preliminary approval of

the Settlement Agreement, as set forth in the proposed Order of Preliminary Approval.



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      Defendants do not contest the requested relief.

                                                   Respectfully submitted,
Dated: October 21, 2016

                                                   FRANCIS & MAILMAN, P.C.
                                           By:     s/ David A. Searles__
                                                   James A. Francis
                                                   John Soumilas
                                                   David A. Searles
                                                   Lauren KW Brennan
                                                   Land Title Building, Suite 1902
                                                   100 South Broad Street
                                                   Philadelphia, PA 19110
                                                   (215) 735-8600

                                                   Attorneys for Plaintiff and the Class




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